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14
                    IN THE UNITED STATES DISTRICT COURT
15                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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17
     ALEXANDER MORGAN,                               Civil Case No.:
18
                               Plaintiff
19
                                                               CIVIL ACTION
20

21
     -against-                                               COMPLAINT
                                                                  and
22                                                        JURY TRIAL DEMAND
23
     EXPERIAN INFORMATION
     SOLUTIONS, INC. and EXETER
24   FINANCE, LLC,
25
                               Defendants
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 1                                    INTRODUCTION
 2

 3   1. Plaintiff, ALEXANDER MORGAN, brings this action under the Fair Credit
 4       Reporting Act, 15 U.S.C. § 1681, et seq. (the “FCRA”) alleging Defendant
 5       EXETER FINANCE, LLC (“Exeter”) has been negligently, recklessly and
 6       knowingly reporting false information regarding the Plaintiff to the national
 7       credit reporting agencies.
 8   2. Plaintiff further alleges that Defendant EXPERIAN INFORMATION
 9       SOLUTIONS, INC. (“Experian”) has negligently and recklessly disseminated
10       false information regarding the Plaintiff’s credit.
11   3. Plaintiff further alleges that Experian failed to follow reasonable procedures to
12       ensure maximum accuracy of credit reports they prepared concerning Plaintiff
13       and failed to investigate credit report inaccuracies in response to Plaintiff’s
14       disputes.
15   4. Plaintiff seeks statutory, actual, and punitive damages, along with injunctive and
16       declaratory relief, and attorneys’ fees and costs.
17                                       JURISDICTION
18   5. The Court has jurisdiction of this matter under 28 U.S.C. § 1331 and 15 U.S.C.
19       § 1681p. All defendants regularly conduct business within the state of Florida
20       and violated Plaintiffs rights under the FCRA in the state of Florida as alleged
21       more fully below.
22   6. Venue is proper in this district under 28 U.S.C. 1391(b) because Plaintiff resides
23       in this district, Defendants conduct business in this district, and communications
24       giving rise to this action occurred in this district.
25                                        PARTIES
26   7. Plaintiff, Alexander Morgan (“Plaintiff”), is a resident of Riverside County in
27       the State of California and is a “consumer” as that term is defined by 15 U.S.C.
28       § 1681a(c).
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 1   8. Defendant Experian Information Solutions, Inc. (hereinafter referred to as
 2       “Experian”), is one of the largest credit reporting agencies in the United States
 3       and is engaged in the business of assembling and disseminating credit reports
 4       concerning hundreds of millions of consumers. Experian is a “consumer
 5       reporting agency” as defined by 15 U.S.C. § 1681a(f) of the FCRA, and is
 6       regularly engaged in the business of assembling, evaluating, and dispersing
 7       information concerning consumers for the purpose of furnishing consumer
 8       reports, as defined in 15 U.S.C. § 1681a(d)(1) of the FCRA, to third parties.
 9   9. Experian’s principal place of business is located in Costa Mesa, California and
10       its registered agent, CT Corporation, is located at 1200 Pine Island Road,
11       Plantation, Florida 33324.
12   10. Defendant Exeter Finance, LLC (hereinafter referred to as “Exeter”), is an
13       automobile finance company with its registered agent, Corporation Service
14       Company located at 211 East 7th Street, Suite 620, Austin, Texas 78701.
15                            FACTUAL ALLEGATIONS
16
     11. Sometime prior to May 2020, Plaintiff had incurred debt to Exeter on an
17
         automobile loan.
18
     12. Recently, Plaintiff noticed the Exeter loan being reported on his Experian credit
19
         report. Believing that the reporting dates on his Experian report were inaccurate,
20
         Plaintiff disputed the same with Experian.
21
     13. Upon receipt of the dispute, Experian notified Exeter of the same.
22
     14. Shortly thereafter, Experian and Exeter changed the “Date of Status” on
23
         Plaintiff’s credit report from scheduled to go to a positive status by Feb 2026,
24
         to scheduled to go to a positive status by Jan 2027.
25
     15. The “Date of Status” field is intended to reflect to prospective viewers of
26
         consumer background reports the date when the account became uncollectible
27
         and was charged off.
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 1   16. Pursuant to the FCRA, a furnisher and credit reporting agency can only report a
 2       delinquent account for approximately seven years from the original delinquency
 3       date; in this case around February of 2026.
 4   17. As such, Defendants knew that the account can only be reported negatively until
 5       around February of 2026; and stating that the account is scheduled to go to a
 6       positive status by January 2027, was clearly inaccurate.
 7   18. This date should reflect a static date that should never change, and by re-aging
 8       the Exeter account in a misleading fashion, Defendants Experian and Exeter
 9       adversely affected credit decisions by prospective lenders. Moreover, the re-
10       aging of the account and manipulation of the dates misrepresented the account
11       to potential creditors, as it indicated that if a delinquency occurred, it occurred
12       more recently than it actually did. Therefore, the re-aging of the account and
13       manipulation of the dates artificially lowered Plaintiff’s credit scores, as the
14       appearance of a more recent delinquency weighs against Plaintiff’s credit
15       standing more severely than if the account was being reported accurately.
16   19. At all times pertinent hereto, Experian’s conduct was willful, and carried out in
17       reckless disregard for a consumer’s rights as set forth under section 1681s and
18       1681i of the FCRA.
19   20. At all times pertinent hereto, Exeter’s conduct was similarly willful, and carried
20       out in reckless disregard for a consumer’s rights as set forth under section 1681s
21       and 1681i of the FCRA.
22   21. As a direct and proximate result, the Defendants’ willful and/or negligent refusal
23      to conduct a reasonable investigation as mandated by the FCRA, Plaintiff has
24      been harmed in his daily life.       For example, Plaintiff’s credit score was
25      negatively impacted, and it has been more difficult to obtain credit.
26   22. As a direct and proximate result of Experian failing to ensure maximum possible
27       accuracy, Plaintiff has been harmed.
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 1                                       COUNT I
 2           VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
 3                                    15 U.S.C. § 1681i
 4                                 AGAINST EXPERIAN
 5

 6   23. All preceding paragraphs are realleged.
 7   24. At all times pertinent hereto, Experian was a “consumer reporting agency”
 8       (“CRA”) as that term is defined by 15 U.S.C. § 1681a(c).
 9   25. The FCRA provides that if a CRA conducts an investigation of disputed
10       information and confirms that the information is, in fact, inaccurate, or is unable
11       to verify the accuracy of the disputed information, the CRA is required to delete
12       that information from the consumer’s file. See 15 U.S.C. § 1681i(a)(5)(A).
13   26. On multiple occasions, Plaintiff initiated disputes with Experian requesting that
14       they correct specific items in his credit file that are patently inaccurate and
15       damaging to him.
16   27. Experian, having either conducted no investigation or failing to conduct a
17       reasonable investigation, verified the inaccurate items on his credit file,
18       something that any basic investigation would have prevented.
19   28. As a direct and proximate result of Experian’s willful and/or negligent refusal to
20       conduct a reasonable investigation as mandated by the FCRA, Plaintiff has been
21       harmed, as explained above.
22                                          COUNT II
23                         FAILURE TO INVESTIGATE DISPUTE
24                                 FCRA, 15 USC § 1681s-2(b)
25                           AGAINST EXETER FINANCE, LLC
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27   29. All preceding paragraphs are re-alleged.
28   30. Furnishers of credit information have a duty under the FCRA to investigate
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 1       disputes from consumers as to the accuracy of information being reported.
 2   31. On multiple occasions, Plaintiff submitted a written dispute to the credit bureau
 3       Experian disputing the accuracy of the accounts being reported by Exeter.
 4   32. Exeter was obligated, pursuant to section 1681s-2(b) of the FCRA to conduct a
 5       complete and thorough investigation with respect to Plaintiff’s dispute.
 6   33. Exeter failed to reasonably investigate Plaintiff’s dispute, because had they done
 7       a proper and reasonable investigation, they would have corrected the inaccurate
 8       information.
 9   34. Exeter’s conduct violated section 1681s-2(b) of the FCRA.
10

11                                       COUNT III
12           VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
13                                    15 U.S.C. § 1681e(b)
14                                  AGAINST EXPERIAN
15

16

17   35. All preceding paragraphs are realleged.
18   36. The FCRA provides that a CRA must have adequate policies and procedures in
19       place to ensure maximum possible accuracy. See 15 U.S.C. § 1681e(b).
20   37. By stating that a tradeline will continue to report a negative status through
21       January 2027, Experian violated 15 U.S.C. § 1681e(b).
22   38. As a direct and proximate result of Experian’s conduct, Plaintiff has been
23       harmed, as explained above.
24

25                         DEMAND FOR TRIAL BY JURY
26   39. Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby
27       requests a trial by jury on all issues so triable.
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 1                                PRAYER FOR RELIEF
 2 WHEREFORE, Plaintiff demand judgment against Defendants as follows:

 3       (a)   Awarding Plaintiff actual damages;
 4       (b)   Awarding Plaintiff statutory damages;
 5       (c)   Awarding Plaintiff punitive damages;
 6       (d)   Awarding Plaintiff the costs of this action and reasonable attorneys’
 7             fees and expenses;
 8       (e)   Awarding pre-judgment interest and post-judgment interest;
 9       (f)   A declaration that Defendants’ conduct alleged herein is unlawful, as set
10             forth more fully above;
11       (g)   Equitable relief, enjoining Defendants from engaging in the unjust and
12             unlawful conduct alleged herein; and
13       (h)   Awarding Plaintiff such other and further relief as this Court may deem
14             just and proper.
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16 Dated: July 7, 2020

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                                         /s/ Jonathan A. Stieglitz
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